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  In re         Felicia A. Towns                                                                                    Case No.       07-05248
                                                                                                        ,
                                                                                       Debtor

                                          SCHEDULE B - PERSONAL PROPERTY - AMENDED
   Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own the property by placing
an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint petition is filed, state the
amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
  Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
In providing the information requested in this schedule, do not include the name or address of a minor child. Simply state "a minor child."
                                                          N                                                                Husband,        Current Value of
                Type of Property                          O                 Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                 Joint, or   without Deducting any
                                                          E                                                               Community Secured Claim or Exemption

1.    Cash on hand                                            Cash                                                             -                            12.00

2.    Checking, savings or other financial                    Checking Account                                                 -                           500.00
      accounts, certificates of deposit, or                    TCF Bank
      shares in banks, savings and loan,
      thrift, building and loan, and
      homestead associations, or credit
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                       X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                        4 TVs, DVD, Stereo, Computer, Sofa, Chair, Table, 2              -                        2,000.00
      including audio, video, and                             Lamps, 3 Beds, 3 Dressers, Stove, Refrigerator,
      computer equipment.                                     Washer, Dryer
                                                              Miscellaneous Household Goods

5.    Books, pictures and other art                           Miscellaneous Books & Pictures                                   -                           150.00
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                        Clothing                                                         -                           600.00

7.    Furs and jewelry.                                       Miscellaneous Jewelry                                            -                           250.00

8.    Firearms and sports, photographic,                  X
      and other hobby equipment.

9.    Interests in insurance policies.                        Life Insurance                                                   -                              0.00
      Name insurance company of each                           no cash value
      policy and itemize surrender or
      refund value of each.                                   Life Insurance for children                                      -                              0.00
                                                               no cash value

10. Annuities. Itemize and name each                      X
    issuer.



                                                                                                                               Sub-Total >            3,512.00
                                                                                                                   (Total of this page)

  2     continuation sheets attached to the Schedule of Personal Property

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  In re         Felicia A. Towns                                                                                    Case No.       07-05248
                                                                                                        ,
                                                                                       Debtor

                                          SCHEDULE B - PERSONAL PROPERTY - AMENDED
                                                                              (Continuation Sheet)

                                                          N                                                                Husband,        Current Value of
                Type of Property                          O                 Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                 Joint, or   without Deducting any
                                                          E                                                               Community Secured Claim or Exemption

11. Interests in an education IRA as                      X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                        401(k)                                                           -                        6,000.00
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                   X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                    X
    ventures. Itemize.

15. Government and corporate bonds                        X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                  X

17. Alimony, maintenance, support, and                    X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor                     Tax Refund less Earned Income Credit                             -                        1,000.00
    including tax refunds. Give particulars.
                                                              Personal Injury Settlement                                       -                     160,000.00

19. Equitable or future interests, life                   X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                          X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                     X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.


                                                                                                                               Sub-Total >        167,000.00
                                                                                                                   (Total of this page)

Sheet 1 of 2          continuation sheets attached
to the Schedule of Personal Property

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  In re         Felicia A. Towns                                                                                    Case No.        07-05248
                                                                                                        ,
                                                                                       Debtor

                                          SCHEDULE B - PERSONAL PROPERTY - AMENDED
                                                                              (Continuation Sheet)

                                                          N                                                                Husband,        Current Value of
                Type of Property                          O                 Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                 Joint, or   without Deducting any
                                                          E                                                               Community Secured Claim or Exemption

22. Patents, copyrights, and other                        X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                       X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                  X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                        1998 Oldsmobile Cutlass                                           -                       1,000.00
    other vehicles and accessories.

26. Boats, motors, and accessories.                       X

27. Aircraft and accessories.                             X

28. Office equipment, furnishings, and                    X
    supplies.

29. Machinery, fixtures, equipment, and                   X
    supplies used in business.

30. Inventory.                                            X

31. Animals.                                              X

32. Crops - growing or harvested. Give                    X
    particulars.

33. Farming equipment and                                 X
    implements.

34. Farm supplies, chemicals, and feed.                   X

35. Other personal property of any kind                   X
    not already listed. Itemize.




                                                                                                                               Sub-Total >            1,000.00
                                                                                                                   (Total of this page)
                                                                                                                                    Total >       171,512.00
Sheet 2 of 2          continuation sheets attached
to the Schedule of Personal Property                                                                                           (Report also on Summary of Schedules)
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   In re         Felicia A. Towns                                                                                 Case No.       07-05248
                                                                                                         ,
                                                                                        Debtor

                              SCHEDULE C - PROPERTY CLAIMED AS EXEMPT - AMENDED
 Debtor claims the exemptions to which debtor is entitled under:                                  Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                  $125,000.
    11 U.S.C. §522(b)(2)
    11 U.S.C. §522(b)(3)

                                                                                Specify Law Providing                   Value of           Current Value of
                   Description of Property                                         Each Exemption                       Claimed            Property Without
                                                                                                                       Exemption         Deducting Exemption
Cash on Hand
Cash                                                                      735 ILCS 5/12-1001(b)                                 12.00                      12.00

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Checking Account                                        735 ILCS 5/12-1001(b)                                                  500.00                     500.00
 TCF Bank

Household Goods and Furnishings
4 TVs, DVD, Stereo, Computer, Sofa, Chair, Table,                         735 ILCS 5/12-1001(b)                              2,000.00                  2,000.00
2 Lamps, 3 Beds, 3 Dressers, Stove, Refrigerator,
Washer, Dryer
Miscellaneous Household Goods

Books, Pictures and Other Art Objects; Collectibles
Miscellaneous Books & Pictures                                            735 ILCS 5/12-1001(a)                                150.00                     150.00

Wearing Apparel
Clothing                                                                  735 ILCS 5/12-1001(a)                                600.00                     600.00

Furs and Jewelry
Miscellaneous Jewelry                                                     735 ILCS 5/12-1001(b)                                250.00                     250.00

Interests in Insurance Policies
Life Insurance                                                            735 ILCS 5/12-1001(h)(3)                              100%                         0.00
  no cash value

Life Insurance for children                                               735 ILCS 5/12-1001(h)(3)                              100%                         0.00
 no cash value

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
401(k)                                                 735 ILCS 5/12-1006                                                       100%                   6,000.00

Other Liquidated Debts Owing Debtor Including Tax Refund
Tax Refund less Earned Income Credit                 735 ILCS 5/12-1001(b)                                                   1,000.00                  1,000.00

Personal Injury Settlement                                                735 ILCS 5/12-1001(h)(4)                          15,000.00               160,000.00




                                                                                                         Total:             25,512.00               170,512.00
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
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